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 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   ADRIANA LEDESMA; JESSICA                         No. 1:14-cv-01634-DAD-JLT
     LEDESMA; MARISSA LEDESMA, by
12   and through her guardian ad litem Raquel
     Sierra; RONNIE MATTHEW LEDESMA,
13   by and through his guardian ad litem             ORDER GRANTING PLAINTIFFS’
     Christina Garcia; and CHRISTINA                  PETITION FOR APPROVAL OF MINORS’
14   HERRERA,                                         COMPROMISE
15                      Plaintiffs,                   (Doc. No. 76)
16          v.
17   KERN COUNTY; KERN COUNTY
     SHERIFF’S DEPARTMENT; WARREN
18   MARTIN; KARENA DELAGARZA;
     DWAYNE PERKINS; JAMES MELTON;
19   and CHRISTOPHER WONG,
20                      Defendants.
21

22          Plaintiffs Marissa Ledesma and Ronnie Matthew Ledesma, minors by and through their

23   respective guardians ad litem, petition the court for an order approving a compromise of their

24   claims. (Doc. No. 76.) A hearing on the petition was held January 5, 2017. Attorney Benjamin

25   Meiselas appeared with and on behalf of the minor plaintiffs and their respective guardians ad

26   litem. Deputy County Counsel Andrew Thomson appeared on behalf of defendants. Having

27   considered plaintiffs’ requests and heard oral argument, and for the reasons set forth below, the

28   court grants the petition for minors’ compromise.
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 1                                             BACKGROUND

 2             This case arises from an encounter between decedent Ronnie Ledesma, Jr. and several

 3   deputies of the Kern County Sheriff’s Office on August 19, 2013, in Bakersfield, California. Mr.

 4   Ledesma died eight days after the incident while in custody at Kern Medical Center. Plaintiffs,

 5   decedent Ledesma’s successors in interest, brought this civil rights action alleging constitutional

 6   violations under 42 U.S.C. § 1983, as well as state law civil rights and common law causes of

 7   action.

 8             Following an order on summary judgment and a settlement conference before the assigned

 9   magistrate judge, the parties agreed to and executed a written settlement agreement with respect

10   to all claims on December 5, 2016. (See Doc. Nos. 73, 76 at 2.) The total payment under the

11   settlement agreement is $1,000,000.00. (Doc. No. 76 at 4.) Of that amount, plaintiffs’ counsel

12   has agreed to recovery of $400,000.00 in attorney’s fees, representing 40% of the total payment

13   amount.1 (Doc. No. 76 at 4.) In addition, plaintiffs’ counsel will recover $31,710.72 in costs.

14   (Id.) The remaining $568,289.28 will be distributed among the five plaintiffs according to the

15   following criteria agreed to by the plaintiffs: (1) each plaintiff’s relationship, and the length of

16   that relationship, with the decedent; (2) each plaintiff’s level of involvement and time spent in

17   this litigation; (3) the time and expenses each plaintiff incurred in the preparation of the

18   decedent’s funeral and related matters; and (4) the relative strengths and weaknesses of each

19   plaintiff’s claims if the matter proceeded to trial. (Id. at 5.) Based on these factors, plaintiffs

20   agreed to the following allocations:
21                   $173,657.85 to Adriana Ledesma

22                   $173,657.85 to Jessica Ledesma

23                   $83,657.86 to Ronnie Matthew Ledesma

24                   $68,657.86 to Marissa Ledesma

25                   $68,657.86 to Christina Herrera

26   1
       Plaintiffs’ counsel notes that the 40% rate approximately reflects contingency fee rates of 45%
27   for the three adult plaintiffs and 33% for the two minor plaintiffs. (Doc. No. 76-1 at 2.) At the
     hearing, plaintiffs’ counsel further noted that for the minor plaintiffs, the 33% contingency fee
28   rate was reduced from the rate of 45% that was set forth in the retainer agreement.
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 1   (Id. at 5–6.) Plaintiffs Marissa Ledesma (age 15) and Ronnie Matthew Ledesma (age 4) now seek

 2   court approval of their respective distributions of the settlement proceeds.

 3                                          LEGAL STANDARD

 4           This court has a duty to protect the interests of minors participating in litigation before it.

 5   Salmeron v. United States, 724 F.2d 1357, 1363 (9th Cir. 1983). To carry out this duty, the court

 6   must “conduct its own inquiry to determine whether the settlement serves the best interests of the

 7   minor.” Robidoux v. Rosengren, 638 F.3d 1177, 1181 (9th Cir. 2011) (quoting Dacanay v.

 8   Mendoza, 573 F.2d 1075, 1080 (9th Cir. 1978)); see also Salmeron, 724 F.2d at 1363 (“[A] court

 9   must independently investigate and evaluate any compromise or settlement of a minor’s claims to

10   assure itself that the minor’s interests are protected, even if the settlement has been recommended

11   or negotiated by the minor’s parent or guardian ad litem.” (citation omitted)).

12           In examining the fairness of a settlement of a minor’s federal claims, the Ninth Circuit has

13   held that a district court’s inquiry should focus solely on “whether the net amount distributed to

14   each minor plaintiff in the settlement is fair and reasonable, in light of the facts of the case, the

15   minor’s specific claim, and recovery in similar cases.” Robidoux, 638 F.3d at 1181–82; see also

16   id. at 1179 n.2 (limiting the court’s holding to cases involving federal claims only). Where a

17   settlement involves state law claims, federal courts generally are guided by state law. See

18   Tashima & Wagstaffe, California Practice Guide: Federal Civil Procedure Before Trial ¶ 15:138

19   (Cal. & 9th Cir. Eds. 2015) (“Federal courts generally require that claims by minors . . . be settled

20   in accordance with applicable state law. California law requires court approval of the fairness
21   and terms of the settlement.”). A settlement for a minor and attorney’s fees to represent a minor

22   must be approved by the court. Cal. Prob. Code § 3601; Cal. Fam. Code § 6602. Reasonable

23   expenses and court costs to be paid out of the settlement also must be approved by the court. Cal.

24   Prob. Code § 3601. Finally, the Local Rules of this court require disclosures regarding the minors

25   involved, the nature of the controversy, the manner in which the compromise was determined,

26   and whether a conflict of interest may exist between the minor and her attorney. See Local Rules
27   202(b)–(c).

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 1                                              DISCUSSION

 2          The proposed settlement agreement in this case provides that plaintiff Marissa Ledesma

 3   will receive $68,657.86, and plaintiff Ronnie Matthew Ledesma will receive $83,657.86. At the

 4   hearing on this matter, plaintiffs indicated that all named plaintiffs, including the minor plaintiffs

 5   by and through their guardians ad litem, met privately outside the presence of their counsel to

 6   arrive at a suitable agreement regarding the fair distribution of settlement proceeds. Furthermore,

 7   at the hearing the minor plaintiffs, through their respective guardians ad litem, expressed their

 8   satisfaction with the terms of the proposed settlement agreement, including the apportionment of

 9   attorney’s fees with respect to counsel’s representation on their behalf.

10          Accordingly, having carefully reviewed plaintiffs’ submissions and having discussed this

11   matter at the hearing with the minor plaintiffs through their respective guardians ad litem, the

12   court finds that the proposed settlement, including the attorney’s fee rate, is fair and reasonable in

13   light of the facts and circumstances of this case and recoveries in similar cases.

14                                             CONCLUSION

15          For the reasons stated above,

16          1. The court grants plaintiffs’ petition for minors’ compromise (Doc. No. 76);

17          2. Plaintiff Marissa Ledesma, by and through her guardian ad litem Raquel Sierra, shall

18                  a. Within fourteen days of receipt, deposit her settlement proceeds, in the net

19                      amount of $68,657.86, in a blocked account at Kern Schools Federal Credit

20                      Union, whereby such proceeds may only be withdrawn by Marissa Ledesma,
21                      upon an order of this court or when she reaches the age of eighteen; and

22                  b. Within fourteen days of the deposit, submit a proof of deposit to this court;

23          3. Plaintiff Ronnie Matthew Ledesma, by and through his guardian ad litem Christina

24              Garcia, shall

25                  a. Within fourteen days of receipt, deposit his settlement proceeds, in the net

26                      amount of $83,657.86, in a blocked account at Kern Schools Federal Credit
27                      Union, whereby such proceeds may only be withdrawn by Ronnie Matthew

28                      Ledesma, upon an order of this court or when he reaches the age of eighteen;
                                                       4
 1                     and

 2                 b. Within fourteen days of the deposit, submit a proof of deposit to this court; and

 3        4. The parties are directed to file a request for dismissal of this action no later than

 4              February 27, 2017.

 5   IT IS SO ORDERED.
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       Dated:     January 6, 2017
 7                                                      UNITED STATES DISTRICT JUDGE

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